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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

JOHN DOE,                                                    §
                                                             §
                  Plaintiff,                                 §
                                                             §
v.                                                           §                      1:18-CV-85-RP
                                                             §
THE UNIVERSITY OF TEXAS                                      §
AT AUSTIN, et al.,                                           §
                                                             §
                  Defendants.                                §

                                                       ORDER

         Before the Court are Plaintiff John Doe’s motion for a preliminary injunction, (Dkt. 16), and

the motion to dismiss filed by Defendants The University of Texas at Austin and Dr. Gregory

Fenves in his official capacity as President of The University of Texas at Austin (collectively, “the

UT Defendants”), (Dkt. 7).1 The Court held a hearing on the motions on May 14, 2018. After

considering the briefs, the evidence, and the relevant law, the Court finds that the motion for

preliminary injunction should be denied.

                                                I. BACKGROUND

         Plaintiff John Doe is an undergraduate student at the University of Texas at Austin (“UT”).

(Compl., Dkt. 1, ¶ 1). He is currently subject to UT’s disciplinary process. He has been accused of

violating UT’s policy prohibiting sexual assault for having sex with a female UT student (“Jane

Roe”). (Id. ¶¶ 18–19). UT has scheduled a disciplinary hearing on the matter for this Thursday, May

17, 2018. (Mot. Prelim. Inj., Dkt. 16, at 1). Doe asks that the Court enjoin UT from holding the

hearing, (id. at 2), on the ground that UT’s investigation of him and decision to move forward with

disciplinary proceedings (1) was initiated in violation of Title IX, 20 U.S.C. § 1681, et seq. (“Title


1The motion to dismiss filed by Dr. Gregory Fenves in his individual capacity, (Dkt. 9), will be addressed in a separate
order.

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IX”), and (2) violates his Fourteenth Amendment right to be free from the deprivation of liberty

without due process of law (both substantive due process and procedural due process). (Compl.,

Dkt. 1, at ¶¶ 65–97).

                                        II. LEGAL STANDARD

        A. Motion to Dismiss

        Under Federal Rule of Civil Procedure Rule 12(b)(1), a defendant may move for dismissal of

the case for lack of subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1). A motion to dismiss for lack

of subject-matter jurisdiction must be considered before any other challenge. See Steel Co. v. Citizens

for Better Environment, 523 U.S. 83, 94–95 (1998) (“The requirement that jurisdiction be established as

a threshold matter . . . is inflexible and without exception.”). “A case is properly dismissed for lack

of subject matter jurisdiction when the court lacks the statutory or constitutional power to

adjudicate the case.” Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir.

1998). On a Rule 12(b)(1) motion, “the trial court is free to weigh the evidence and satisfy itself as to

the existence of its power to hear the case.” MDPhysicians & Assocs., Inc. v. State Board of Ins., 957 F.2d

178, 181 (5th Cir. 1992).

        B. Preliminary Injunction

        A preliminary injunction is an extraordinary remedy. The decision to grant one is to be

treated as an exception rather than the rule. Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047, 1050 (5th

Cir. 1997). This remedy is granted only if a plaintiff demonstrates (1) likelihood of success on the

merits; (2) irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips

in the plaintiff’s favor; and (4) that an injunction is in the public interest. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). The party seeking injunctive relief must “carr[y] the burden of

persuasion on all four requirements.” PCI Transp. Inc. v. Fort Worth & W. R.R. Co., 418 F.3d 535, 545

(5th Cir. 2005).


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                                               III. DISCUSSION

         Doe’s procedural due process claim is not ripe. With respect to Doe’s substantive due

process and Title IX claims, Doe has not demonstrated that he is likely to succeed on the merits.

Therefore, the Court will dismiss the procedural due process claim and deny the motion for a

preliminary injunction.2

         A. Procedural Due Process

         The procedural due process claim is not ripe. “The ripeness requirement originates from

Article III of the United States Constitution.” TOTAL Gas & Power N. Am., Inc. v. Fed. Energy

Regulatory Comm’n, 859 F.3d 325, 333 (5th Cir. 2017). Ripeness is therefore “a constitutional

prerequisite to the exercise of jurisdiction.” Shields v. Norton, 289 F.3d 832, 835 (5th Cir. 2002). When

evaluating ripeness, courts must evaluate two key considerations. Those “key considerations are ‘the

fitness of the issues for judicial decision and the hardship to the parties of withholding court

consideration.’” New Orleans Pub. Serv., Inc. v. Council of City of New Orleans, 833 F.2d 583, 586 (5th Cir.

1987) (quoting Abbott Laboratories v. Gardner, 387 U.S. 136, 149 (1967)). “A case is generally ripe if

any remaining questions are purely legal ones; conversely, a case is not ripe if further factual

development is required.” Id. “Ripeness separates those matters that are premature because the

injury is speculative and may never occur from those that are appropriate for judicial review.” United

Transp. Union v. Foster, 205 F.3d 851, 857 (5th Cir. 2000).

         A Section 1983 claim based on a violation of procedural due process is not ripe until the

process complained of has reached its completion. In such cases, “[t]he constitutional violation

actionable under [Section] 1983 is not complete when the deprivation occurs; it is not complete

unless and until the State fails to provide due process.” Zinermon v. Burch, 494 U.S. 113, 126 (1990);

see also id. (“Therefore, to determine whether a constitutional violation has occurred, it is necessary to

2The UT Defendants have moved to dismiss all of Doe’s claims in their motion to dismiss. In this order the Court only
addresses the ripeness argument; it will address the remaining parts of the motion in a separate order.

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ask what process the State provided, and whether it was constitutionally adequate.”). If the state has

not yet provided all of the process available, there is insufficient factual development for a court to

determine whether that procedure was constitutionally adequate. See Alvin v. Suzuki, 227 F.3d 107,

116 (3d Cir. 2000) (“If there is a process on the books that appears to provide due process, the

plaintiff cannot skip that process and use the federal courts as a means to get back what he wants.”);

Minix v. Frazier, 4 F. App’x 230, 231 (6th Cir. 2001) (“[T]he alleged availability of additional remedies

indicates that [the plaintiff’s] procedural due process claims are still premature.”). Because the

remedy for a procedural due process violation is more process, it makes little sense to adjudicate

such a claim before the process is complete. See Perry v. Sindermann, 408 U.S. 593, 603 (1972) (finding

that if a professor did have a property interest in his employment, the proper remedy would be a

hearing, not reinstatement); Neuwirth v. Louisiana State Bd. of Dentistry, 845 F.2d 553, 560 n.12 (5th Cir.

1988) (noting that if the plaintiff’s sole claim was a procedural due process one, he “would be

entitled to no more than another hearing before the Board, because that is the remedy for due

process violations”).

        Doe has not pointed to any cases in which a court has found a procedural due process claim

ripe before the procedure has finished running its course. And at least one federal district court has

dismissed as unripe a procedural due process claim arising from a college disciplinary proceeding

with many similarities to this one when that claim was filed before the university’s process was

complete. See Peloe v. Univ. of Cincinnati, No. 1:14-CV-404, 2015 WL 728309, at *8 (S.D. Ohio Feb.

19, 2015) (“The disciplinary proceedings are not complete and no disciplinary penalty has been

imposed upon Peloe. As such, any procedural due process claim is not ripe.”); see also id. at *7

(“Peloe filed this suit after the first step of a multi-step procedure, denying [the university] the

opportunity to provide him procedural due process.”). For these reasons, Doe’s procedural process

claim will not be ripe until the UT disciplinary process is complete.


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          B. Title IX

          Assuming without deciding that Doe’s remaining claims are ripe,3 he has not put forth

sufficient evidence to demonstrate a likelihood of success on the merits for either claim sufficient to

support a preliminary injunction.

          Doe brings a Title IX claim against the UT Defendants alleging that UT’s decision to initiate

the investigation of him constitutes selective enforcement of its sexual abuse policy in a manner that

discriminates against him on the basis of his gender. (Compl., Dkt. 1, ¶¶ 92–94 (“The male student

was charged and investigated for rape and the female student was not. The reason for this inequity is

gender bias.”)). This claim requires showing that “regardless of the student’s guilt or innocence, the

severity of the penalty and/or the decision to initiate the proceeding was affected by the student’s

gender.” Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994); Plummer v. Univ. of Houston, 860 F.3d

767, 777 (5th Cir. 2017) (analyzing under the same standard a similar Title IX challenge to the

decision to initiate disciplinary proceedings against students accused of violating university sexual

assault policy). Because no penalty has been imposed on Doe, his complaint falls under the latter

category—he asserts that the decision to begin the proceeding in the first place was affected by his

gender.

          The sole basis for this contention is that UT initiated a proceeding against Doe but did not

bring one against Roe, allegedly because he is a male. (Complaint, Dkt. 1, ¶¶ 92–94). This allegation

relies upon a premise that the UT Defendants reject: that UT’s definition of “incapacitation” is

indistinguishable from intoxication. Doe says that because both he and Roe fell under this definition

when they had sex (because they were both intoxicated), the reason for opening a disciplinary

proceeding against him while not opening one against Roe is the result of gender discrimination
3 It appears that all factual development needed to fulfill Article III’s case or controversy requirement with respect to his
substantive due process and Title IX claims has already occurred. His substantive due process claim is a facial challenge
to UT’s definition of “incapacitation” and would therefore not require an investigation into the particular procedure
employed. It is not dependent upon the particular outcome of the hearing. His Title IX claim is based on the fact that
UT initiated an investigation.

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against him. However, a more plausible explanation for UT’s failure to investigate whether Doe was

incapacitated when he had sex with Roe exists: there is no evidence that Doe made a complaint to

UT alleging that he was incapacitated and therefore unable to effectively consent at the time. The

complaint contains no such allegation. The reason UT began its investigation into Doe’s behavior in

the first place was that it received a complaint about his behavior. (Resp. Mot. Preliminary

Injunction, Dkt. 25, at 17). Doe has not put forth evidence to support his conclusory allegation that

UT’s decision to investigate his behavior as a possible violation of the school’s sexual assault policy

was motivated by his gender. Indeed, the UT Defendants introduced evidence at the hearing

demonstrating that most male students against whom proceedings are initiated are not found

responsible. Accordingly, Doe has failed to demonstrate that he is likely to succeed on the merits of

his Title IX claim for selective enforcement.

        C. Substantive Due Process

        Doe has also failed to show that he is likely to succeed with his substantive due process

claim. This claim is rooted in the contention that UT’s definition of “incapacitation” is

unconstitutionally vague. (Complaint, Dkt. 1, ¶¶ 72–78). Such a challenge must meet a high bar to

succeed. And because the rule being challenged is punishable by civil rather than criminal means, the

bar is even higher. See Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498–99

(1982) (noting that the Supreme Court has “expressed greater tolerance of enactments with civil

rather than criminal penalties because the consequences of imprecision are qualitatively less severe”).

A rule is unconstitutionally vague if it (1) fails to provide sufficient notice “that will enable ordinary

people to understand what conduct it prohibits,” or (2) authorizes or encourages “arbitrary and

discriminatory enforcement.” United States v. Escalante, 239 F.3d 678, 680 (5th Cir. 2001) (quoting City

of Chicago v. Morales, 527 U.S. 41, 56 (1999) (plurality)). Raising the bar higher still is the fact that this

challenge to the UT disciplinary rule is a facial one. See Nat’l Endowment for the Arts v. Finley, 524 U.S.


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569, 580 (1998) (“Facial invalidation is, manifestly, strong medicine that has been employed by the

Court sparingly and only as a last resort.”).

         “A vague standard is one that does not specify any standard at all, not one that merely

proscribes a wide range of not-specifically-enumerated behaviors.” Houston Fed’n of Teachers, Local

2415 v. Houston Indep. Sch. Dist., 251 F. Supp. 3d 1168, 1182 (S.D. Tex. 2017). “To analyze a facial

vagueness challenge, the Court first “must consider whether the ordinance reaches a substantial

amount of constitutionally protected conduct.” Roark & Hardee LP v. City of Austin, 522 F.3d 533,

548 (5th Cir. 2008). Doe has not pointed to any constitutionally protected conduct that is unduly

stifled by UT’s policy.4 Accordingly, the challenge will be successful “only if the enactment is

impermissibly vague in all of its applications.” Id. (quoting Vill. of Hoffman Estates, 455 U.S. at 494–

95). A rule is vague in all of its applications when “it is so indefinite that no one could know what is

prohibited” and is therefore “substantially incomprehensible.” Id.

         Escalante is illuminating. There, the Fifth Circuit upheld a law challenged as vague that

criminalized “careless driving.” It defined careless driving by stating: “Any person who drives any

vehicle in a careless or imprudent manner, without due regard for the width, grade, curves, corner,

traffic and use of the streets and highways and all other attendant circumstances is guilty of careless

driving.” Escalante, 239 F.3d at 680. The statute withstood the vagueness challenge because, although

its language was broad, “ordinary people can understand its meaning.” Id. The court went on to say

that the “ubiquitous standard does not defy common understanding but relies on it.” Id.

         Here, Doe challenges UT’s definition of “incapacitation.” The definition is relevant because

“without consent” is a component of the school’s definition of rape, and “incapacitation” is listed as

4 Although consensual sex is a constitutionally protected activity, see, e.g., Lawrence v. Texas, 539 U.S. 558, 578 (2003),
there is no constitutional protection for sex with someone who lacks the capacity to consent, id. (noting that the holding
does not extend to “persons who might be injured or coerced or who are situated in relationships where consent might
not easily be refused”). Additionally, Doe has not put forth any evidence that UT’s definition burdens any amount of
constitutionally protected behavior—sexual or otherwise. See Roark & Hardee, 522 F.3d at 549 n.16 (noting that an
argument that the plaintiffs had made regarding vagueness and violation of their Fifth Amendment right would fail as a
matter of law because the plaintiffs “provide[d] no useful evidence on the issue.”).

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one of the situations under which consent is not effective. (Compl., Dkt. 1, ¶¶ 21–24).

Incapacitation is itself defined as “A state of being that prevents an individual from having the

capacity to give consent. For example, incapacitation could result from the use of drugs or alcohol, a

person being asleep or unconscious, or because of an intellectual or other disability.” (Id. ¶ 24). Doe

contends that this definition is impermissibly vague. At the hearing, counsel for Doe argued that the

definition is meaningless because it defines a word by using the antonym of that word. However, a

reading of cases applying the vagueness standard shows that this alone is not enough. In Escalante,

for example, careless driving was defined as driving “any vehicle in a careless or imprudent manner.”

Although the statute’s definition of the word “careless” itself included the word “careless,” the Fifth

Circuit found that it was not impermissibly vague because “ordinary people can understand its

meaning.” Escalante, 239 F.3d at 680. Similarly, the word incapacitation (and the word “capacity”) are

informed by common understanding. Additionally, the UT Defendants presented evidence at the

hearing that all students go through multiple hours of training concerning consent and its various

forms and grey areas before beginning classes at UT. They also produced evidence that Doe

understood the risk that having sex with someone who is extremely intoxicated may be problematic.

He texted Roe the morning after they had sex that he “shouldn’t have been so stupid as to not think

that what I did could have harmed” her, and he said that he knew “that drunk sex was not a good

idea.” (Resp. Mot. Prelim. Inj., Dkt. 25, at 6). For these reasons, the Court cannot conclude that Doe

is likely to succeed on his claim that UT’s definition of incapacitation is so vague that he could not

have been on notice that he may have been in danger of violating it under these circumstances.




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                                      IV. CONCLUSION

       For the foregoing reasons, Plaintiff John Doe’s motion for a preliminary injunction, (Dkt.

16), is DENIED. The motion to dismiss his procedural due process claim for lack of ripeness is

GRANTED. His procedural due process claim is DISMISSED without prejudice.

        SIGNED on May 15, 2018.

                                            _____________________________________
                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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